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 1    MICHAEL A. JACOBS (CA SBN 111664)
      MJacobs@mofo.com
 2    ARTURO J. GONZALEZ (CA SBN 121490)
      AGonzalez@mofo.com
 3    MORRISON & FOERSTER LLP
      425 Market Street
 4    San Francisco, California 94105-2482
      Telephone: 415.268.7000
 5    Facsimile: 415.268.7522

 6    KENNETH A. KUWAYTI (CA SBN 145384)
      KKuwayti@mofo.com
 7    ERIC C. PAI (CA SBN 247604)
      EPai@mofo.com
 8    MORRISON & FOERSTER LLP
      755 Page Mill Road
 9    Palo Alto, California 94304-1018
      Telephone: 650.813.5600
10    Facsimile: 650.494.0794

11    Attorneys for Plaintiff
      NEVRO CORP.
12

13                                    UNITED STATES DISTRICT COURT

14                                 NORTHERN DISTRICT OF CALIFORNIA

15                                           SAN FRANCISCO DIVISION

16

17     NEVRO CORP.,                                          Case No.     3:16-cv-06830-VC-MEJ

18                              Plaintiff,                   NEVRO’S NOTICE OF MOTION
                                                             AND MOTION FOR SUMMARY
19            v.                                             JUDGMENT

20     BOSTON SCIENTIFIC CORPORATION and                     Date:      January 14, 2021
       BOSTON SCIENTIFIC NEUROMODULATION                     Time:      10:00 a.m.
21     CORPORATION,                                          Ctrm:      4, 17th Floor
                                                             Judge:     Hon. Vince Chhabria
22                              Defendants.

23

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               REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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     NEVRO’S MOTION FOR SUMMARY JUDGMENT
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 1                                 NOTICE OF MOTION AND MOTION

 2    TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3             PLEASE TAKE NOTICE that on January 14, 2021, or as soon thereafter as counsel may

 4    be heard before the Honorable Vince Chhabria in Courtroom 4, 17th Floor, 450 Golden Gate

 5    Avenue, San Francisco, CA 94102, Plaintiff Nevro Corp. will and hereby does move for an order

 6    granting summary judgment. Nevro’s motion is based on the pleadings, records, and files in this

 7    action; documents in the public record; the accompanying memorandum of points and authorities;

 8    the declarations of Eric C. Pai, Konstantinos Alataris, and Ben Pless and accompanying exhibits;

 9    and any other evidence and argument that the parties may present.

10                            CONCISE STATEMENT OF RELIEF SOUGHT

11             Nevro seeks summary judgment that: (1) BSC infringes claims 7 and 35 of the ’533

12    patent, claim 22 of the ’842 patent, and claim 55 of the ’125 patent in connection with its

13    Precision with MultiWave; (2) BSC’s new theories concerning the Precision SCS system do not

14    invalidate the Patents-in-Suit; (3) an application (“Fang”) owned by Nevro and related to the ’472

15    patent is not prior art to the other six Patents-in-Suit; and (4) no claim of the Patents-in-Suit is

16    unenforceable as alleged in BSC’s inequitable conduct affirmative defense.

17                         MEMORANDUM OF POINTS AND AUTHORITIES

18    I.       INTRODUCTION

19             Nevro pioneered a new and far more effective form of spinal cord stimulation therapy for

20    pain relief. Its implantable systems rely on stimulation with a high-frequency signal that does not

21    generate “paresthesia,” while traditional SCS providers like Boston Scientific rely on stimulation

22    with low-frequency signals that mask the pain by generating paresthesia.

23             The clinical effectiveness and other benefits Nevro demonstrated with its innovations led

24    to marketplace success. BSC, facing what the company itself proclaimed as a significant “threat”

25    from Nevro’s high-frequency therapy, decided to copy Nevro. BSC developed two infringing

26    systems: the Precision with MultiWave and the Spectra WaveWriter. It also attempted to

27    invalidate Nevro patent claims through two IPR petitions. Those petitions failed. BSC

28    nonetheless commercially launched the Precision with MultiWave system in Europe. Since the

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 1    filing of this lawsuit, however, BSC has thus far opted not to commercially launch a high-

 2    frequency system in the United States.

 3           This case is on remand after a prior round of summary judgment motions and a Federal

 4    Circuit appeal. Together, this Court’s rulings and the Federal Circuit’s rulings have eliminated

 5    several of BSC’s invalidity defenses. This motion addresses some of the remaining defenses BSC

 6    has thrown up to try to defend its copy products.

 7           BSC’s Precision with MultiWave in Europe infringes Nevro’s patent claims under

 8    35 U.S.C. § 271(f)(1). BSC supplies the components of the Precision with MultiWave from the

 9    United States so as to actively induce their combination in an infringing manner in Europe.

10    Applying this Court’s and the Federal Circuit’s claim constructions to the undisputed facts, BSC

11    has no non-infringement arguments. Nevro therefore seeks partial summary judgment on each

12    element of § 271(f)(1) and summary judgment of infringement with respect to four of Nevro’s

13    asserted patent claims.

14           Nevro also seeks summary judgment on two of BSC’s remaining invalidity arguments.

15    BSC’s theories with respect to the Precision SCS system were untimely and improperly disclosed

16    only in BSC’s expert reports; Nevro’s co-pending motion to strike is all the Court needs to review

17    in order to grant Nevro’s motion on these theories. But these invalidity arguments are also

18    meritless under the Court’s construction of “frequency” and the Federal Circuit’s construction of

19    “configured to.”

20           Another of BSC’s invalidity theories seeks to hold Nevro’s later patents invalid on the

21    basis of an earlier filed application—the Fang application. But under the “common inventive

22    entity” rule, the Fang application is not cognizable as prior art to Nevro’s later patents because the

23    relevant subject matter in all of them was invented by the same individuals.

24           Finally, Nevro seeks summary judgment on BSC’s remaining inequitable conduct

25    defense. BSC’s defense fails because BSC has no evidence that an allegedly withheld set of

26    documents—the Yearwood References—are material to patentability, as the Federal Circuit’s

27    Therasense en banc decision requires.

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 1    II.    FACTUAL BACKGROUND

 2           A.       Nevro’s Novel High-Frequency Paresthesia-Free SCS Technology

 3           Nevro was founded to provide a solution to chronic pain without the drawbacks of

 4    traditional SCS therapy. Nevro’s patented SCS technology represents a paradigm shift in SCS

 5    therapy and is significantly more effective than traditional systems.

 6           Nevro’s SCS technology differs from traditional SCS technology in two fundamental

 7    ways. First, it operates at higher frequencies. Traditional SCS systems typically operate at a

 8    frequency range of between 40-60 Hz, with an upper FDA-approved limit of 1,200 Hz. (Ex.1 9 at

 9    NEVRO_BSXCA0057095.) The commercial embodiment of Nevro’s differentiating technology,

10    HF10® therapy, operates at 10 kHz. (See id.) Applying such high frequencies to the spinal cord

11    was previously viewed as unnecessary and potentially unsafe. (Pless Decl. ¶¶ 5-9; see also

12    Ex. 10 at NEVRO_BSXCA01777703 (“there is no physiological evidence that increasing the

13    pulse rate beyond physiological limits (~300 pps) will provide therapeutic benefit”).)

14           Second, Nevro’s therapy is paresthesia-free. Before Nevro performed its clinical studies,

15    the overwhelming view in the industry was that generating paresthesia was not a mere side effect

16    but the means for providing pain relief. (Ex. 11 at NEVRO_BSXCA0057246.) This was BSC’s

17    view as well. When BSC presented the poster for its ACCELERATE clinical study comparing

18    high- and low-frequency therapies, it stated:

19                    Spinal Cord Stimulation (SCS) has been shown to be an effective
                      treatment option for the treatment of chronic intractable pain since
20                    the 1990s. This has relied on the understanding that in order to
                      successfully achieve pain relief, paresthesia has to be generated to
21                    cover the area of pain. However, studies indicate that effective
                      pain relief may be obtained by employing stimulation without
22                    paresthesia at high frequency settings up to 10 kHz.

23    (Ex.12 (emphasis added).) The referenced 10 kHz studies used Nevro’s system.

24           To obtain FDA approval, Nevro was required to conduct an extensive randomized clinical

25    study monitored by the FDA (“the Senza-RCT”), which consisted of a head-to-head comparison

26    of Nevro’s systems with BSC’s then most-current system, the Precision Plus. In the study, BSC’s

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28               “Ex.” are documents attached to the Pai Declaration unless otherwise noted.

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 1    systems were implanted by physicians who normally worked with BSC systems and were

 2    programmed by BSC’s representatives at parameters of their choosing. (See Ex. 9 at

 3    NEVRO_BSXCA0057094-96.) The outcome was stunning. After 12 months, a much higher

 4    number of patients responded to Nevro’s therapy compared to BSC’s traditional therapy (78.7%

 5    vs. 51.3%) and Nevro’s therapy was nearly twice as effective as BSC’s in providing pain relief for

 6    both leg and back pain. (Id. at NEVRO_BSXCA0057099-100.) The study results were so strong

 7    that the FDA approved Nevro’s therapy with a rare superiority label, allowing it to promote its

 8    system as superior to BSC’s traditional SCS therapy. (Ex. 13 (SSED); Ex. 14, Caraway Dep.

 9    163:4-164:23.) At the 24-month mark, the results of the Senza-RCT study continued to be

10    sustained. (See Ex. 11 at NEVRO_BSXCA0057249-50.) These same outcomes are reflected in

11    commercial use outside the study. (Ex. 15 at NEVRO_BSXCA0093967.)

12           In addition to dramatically better pain relief, Nevro’s therapy provides other important

13    benefits. Patients receiving paresthesia-based therapy often experience uncomfortable jolts or

14    shocks, which means the therapy cannot be used while driving or sleeping and limits physical

15    movements. (See Pless Decl. ¶¶ 10-13.) Because Nevro’s therapy is paresthesia-free, it has no

16    such restrictions, allowing patients to return to their normal daily lives. (Id.)

17           The industry recognized Nevro’s groundbreaking innovations. Market analysts praised

18    Nevro’s therapy as “a significant leap forward in SCS technology (not just a small advancement,

19    but a fundamental game changer)” and “a truly disruptive technology” that is “driving a paradigm

20    stampede in the spinal cord stimulation field.” (Ex. 16 at 6; Ex. 17 at 1.)

21

22                                                                          (Ex. 18 at BSC-

23    NVRO_00039321, 322.)

24           B.      BSC Copied Nevro’s Technology
25           BSC began to lose market share to Nevro and decided to develop its own high-frequency

26    SCS system in response. In an April 2012 email chain, BSC lamented losing business from one

27    of its previously loyal physicians who was switching to Nevro. (Ex. 19 at BSC-

28    NVRO_00310706; Ex. 20, Carbunaru Dep. 624:20-628:7.) BSC VP of Engineering, Rafael

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 1    Carbunaru, instructed his team, “We should take this as very important. We should also ask

 2    Marketing to get as much information as possible on what Nevro’s use model and programming

 3    is so that we can make something that addresses the need and not something that gets close to it

 4    only.” (Ex. 19 at BSC-NVRO_00310705; Ex. 20, Carbunaru Dep. 624:20-627:24.)

 5           Just weeks later, on May 17, 2012, BSC authorized the Sprint High Rate Project to

 6    develop a high frequency SCS system, which it released as the infringing Precision with

 7    MultiWave. In authorizing this project, BSC focused on emulating Nevro’s new technology, with

 8    a presentation headlined, “Nevro’s high frequency technology presents a threat to BSN.” (Ex. 21

 9    at BSC-NVRO_00123862; Ex. 22 at BSC-NVRO_00123853; Ex. 20, Carbunaru Dep. 630:20-

10    635:18.) BSC also gathered information on Nevro’s programming parameters to make its

11    competing product. (Ex. 23 at BSC-NVRO_00301646; Ex. 20, Carbunaru Dep. 658:10-684:19.)

12    Using that information, BSC invested significant resources to develop the Precision with

13    MultiWave: an estimated 50 engineers worked approximately one year on the system. (Ex. 24,

14    Carbunaru Dep. 136:2-139:21.)

15           In 2014, BSC launched the Precision with MultiWave in Europe. (Ex. 25 at 5, BSC’s

16    Resp. to Rog No. 4.) BSC manufactured the Precision with MultiWave in the United States and

17    shipped the systems to Europe for distribution. (Ex. 26 at 6-7, BSC’s 2nd Suppl. Resp. to Rog

18    No. 2 (manufacturing in Valencia, CA); Ex. 27, Cassidy Dep. 535:22-537:3.)

19

20

21                        (Ex. 27, Cassidy Dep. 489:16-21, 491:8-492:17, 729:11-19.)

22           C.      BSC Challenged Nevro’s ’102 Patent Before the PTO and Lost
23           On May 14, 2015, just six days after Nevro received FDA approval, BSC filed two

24    petitions for inter partes review seeking to challenge the validity of 16 claims of asserted U.S.

25    Patent No. 8,359,102 (the “’102 patent”). Between its two petitions, Boston Scientific raised four

26    allegedly anticipatory grounds and over 25 obviousness allegations using various combinations of

27    references. The PTO denied both petitions in their entirety. (See Exs. 28-29.)

28

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 1                          a.      Claim 1, Preamble: “A spinal cord modulation system for
                                    reducing or eliminating pain in a patient, the system
 2                                  comprising:”

 3           BSC’s technical expert, Dr. Richard Mihran, confirmed that the Precision with MultiWave

 4    is “a spinal-cord-modulation system for reducing or eliminating pain.” (Ex. 31, Mihran Dep.

 5    94:9-13.) “The Precision Spinal Cord Stimulator System with Multiwave . . . is indicated as an

 6    aid in the management of chronic intractable pain.” (Ex. 30 at 4; Ex. 24, Carbunaru Dep. 168:13-

 7    169:2; Pless Decl. ¶¶ 16-19.) BSC has not disavowed Dr. Mihran’s statement or otherwise set

 8    forth any evidence that Precision with MultiWave does not meet this limitation. (See, e.g., Ex. 32

 9    at 13, BSC’s Suppl. Resp. to Rog No. 9; Ex. 33, Mihran Rbtl. ¶¶ 234-35.)

10                          b.      Claim 1, Element [a]: “a signal generator configured to
                                    generate a non-paresthesia-producing therapy signal”
11
             The Precision with MultiWave system includes an IPG or implantable pulse generator,
12
      which is a “signal generator.” (Ex. 24, Carbunaru Dep. 11:7-17.) Under the Federal Circuit’s
13
      claim construction, a signal generator “configured to” generate a non-paresthesia-producing
14
      therapy signal must be “programmed to” generate such a therapy signal. (ECF 509 at 12.) BSC
15
      has admitted that commercial patients “have been programmed [] using the Precision with
16
      MultiWave in Europe at frequencies higher than 1.5 kilohertz who had therapeutic results without
17
      paresthesia.” (Ex. 20, Carbunaru Dep. 567:9-16; Pless Decl. ¶¶ 20-27.)
18
                            c.      Claim 1, Element [c]: “an implantable signal delivery device
19                                  electrically coupleable to the signal generator and configured to
                                    deliver the therapy signal to the patient’s spinal cord region”
20
             Dr. Mihran admits that the Precision with MultiWave uses “implantable” leads. (Ex. 31,
21
      Mihran Dep. 95:16-24.) The leads “deliver[] electrical stimulation to the nerve structures in the
22
      dorsal aspect of the spinal cord.” (Ex. 30 at 2; Ex. 24, Carbunaru Dep. 168:13-169:2.) BSC’s
23
      Clinician Manual provides specific instructions on implanting and electrically coupling the leads
24
      to the signal generator. (Ex. 30 at 30-31.) Physicians following these instructions implant the
25
      leads in a patient’s epidural space and connect the leads to the IPG. (Ex. 24, Carbunaru Dep.
26
      11:7-17, 168:13-169:2; Ex. 30 at 2, 14-17, 23-26, 30-31; Ex. 27, Cassidy Dep. 478:22-479:12.)
27
      BSC admits that when the leads have been implanted and connected to the IPG, they are
28

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 1    configured to deliver the therapy signal to the patient’s spinal cord region. (Ex. 31, Mihran Dep.

 2    93:18-101:17; Pless Decl. ¶¶ 32-36.)

 3                          d.      Claim 7: “The system of claim 1, wherein the frequency range
                                    is from 1.5 kHz to 50 kHz.”
 4

 5           The Precision with MultiWave has a “default” high-frequency parameter of “10,000 Hz”

 6    and a programmable high-frequency range of “2 kHz – 10 kHz.” (Ex. 30 at 51.) As discussed

 7    above, commercial patients “have been programmed [] using the Precision with MultiWave in

 8    Europe at frequencies higher than 1.5 kilohertz,” including at frequencies of 2 kHz and 10 kHz.

 9    (Ex. 20, Carbunaru Dep. 567:9-16, 762:10-765:17, 766:3-9, 768:1-773:14; Ex. 34 at BSC-

10    NVRO_00369789; Ex. 35 at BSC-NVRO_00369791; Pless Decl. ¶¶ 28-31, 37.)

11                   2.     The Precision with MultiWave Infringes Claim 35 of the ’533 Patent
12           The Precision with MultiWave meets every element of claim 35, which reads:

13                   Claim 21 (unasserted): A spinal cord stimulation system for
                     reducing or eliminating pain in a patient, the system comprising: an
14                   implantable signal generator configured to generate a non-
                     paresthesia-producing therapy signal, wherein at least a portion of
15                   the therapy signal is at a frequency in a frequency range from 3 kHz
                     to 20 kHz, and a current amplitude in a current amplitude range
16                   from 0.1 mA to 20 mA; and a signal delivery device electrically
                     coupled to the implantable signal generator and configured to
17                   deliver the therapy signal to the patient’s spinal cord.
18                   Claim 35: The system of claim 21, wherein at least a portion of the
                     therapy signal has a pulse width in a pulse width range from 25
19                   microseconds to 166 microseconds.
20                          a.      Claim 21, Preamble: “A spinal cord stimulation system for
                                    reducing or eliminating pain in a patient, the system
21                                  comprising:”
22           Dr. Mihran confirmed that the Precision with MultiWave is “a spinal-cord-modulation

23    system for reducing or eliminating pain.” (Ex. 31, Mihran Dep. 94:9-13.) “The Precision Spinal

24    Cord Stimulator System with Multiwave . . . is indicated as an aid in the management of chronic

25    intractable pain.” (Ex. 30 at 4; Ex. 24, Carbunaru Dep. 168:13-169:2.) A spinal cord modulation

26    system is the same as a spinal cord stimulation system—the terms are used interchangeably.

27    (Pless Decl. ¶¶ 16-19, 38.)

28

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 1                          b.      Claim 21, Element [a]: “an implantable signal generator
                                    configured to generate a non-paresthesia-producing therapy
 2                                  signal”

 3           As discussed above, the Precision with MultiWave system includes an IPG or implantable

 4    pulse generator, which is an “implantable signal generator.” (Ex. 24, Carbunaru Dep. 11:7-17.)

 5    BSC has admitted that commercial patients “have been programmed [] using the Precision with

 6    MultiWave in Europe at frequencies higher than 1.5 kilohertz who had therapeutic results without

 7    paresthesia.” (Ex. 20, Carbunaru Dep. 567:9-16; Pless Decl. ¶¶ 20-27, 39.)

 8                          c.      Claim 21, Element [b]: “wherein at least a portion of the
                                    therapy signal is at a frequency in a frequency range from 3
 9                                  kHz to 20 kHz”

10           The Precision with MultiWave has a “default” high-frequency parameter of “10,000 Hz”

11    and a programmable high-frequency range of “2 kHz – 10 kHz.” (Ex. 30 at 51.) Commercial

12    patients “have been programmed [] using the Precision with MultiWave in Europe at frequencies

13    higher than 1.5 kilohertz,” including at a frequency of 10 kHz. (Ex. 20, Carbunaru Dep. 567:9-

14    16, 762:10-765:17, 766:3-9, 768:1-773:14; Ex. 34, at BSC-NVRO_00369789; Ex. 35 at BSC-

15    NVRO_00369791; Pless Decl. ¶¶ 28-31, 40.)

16                          d.      Claim 21, Element [c]: “a current amplitude in a current
                                    amplitude range from 0.1 mA to 20 mA”
17
             BSC admits that “stimulation frequencies between 2,000 Hz and 10,000 Hz are used with
18
      a pulse width of 20-240 μsec and an amplitude of 0-9mA.” (Ex. 26 at 3, BSC’s Resp. to Rog No.
19
      1; Ex. 30 at 51; Ex. 36 at 51; Ex. 24, Carbunaru Dep. 168:13-169:2.) BSC’s commercial patients
20
      have been programmed using the Precision with MultiWave in Europe at a frequency of 10 kHz
21
      and amplitudes between 2.46 and 4.9 mA. (Ex. 34 at BSC-NVRO_00369789; Ex. 35 at BSC-
22
      NVRO_00369791; Ex. 20, Carbunaru Dep. 762:10-765:10, 765:12-17, 766:3-9, 768:1-770:22,
23
      770:23-773:14; Pless Decl. ¶¶ 41-44.)
24
                            e.      Claim 21, Element [d]: “a signal delivery device electrically
25                                  coupled to the implantable signal generator and configured to
                                    deliver the therapy signal to the patient’s spinal cord”
26
             The Precision with MultiWave uses leads that “deliver[] electrical stimulation to the nerve
27
      structures in the dorsal aspect of the spinal cord.” (Ex. 30 at 2; Ex. 24, Carbunaru Dep. 168:13-
28

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 1    169:2.) BSC’s Clinician Manual provides specific instructions on implanting and electrically

 2    coupling the leads to the signal generator. (Ex. 30 at 30-31.) Physicians following these

 3    instructions implant the leads in a patient’s epidural space and connect the leads to the IPG. (Ex.

 4    24, Carbunaru Dep. 11:1-6, 168:13-169:2; Ex. 30 at 2, 14-17, 23-26, 30-31; Ex. 27, Cassidy Dep.

 5    478:22-479:12; Pless Decl. ¶¶ 32-36, 45-47.)

 6                          f.      Claim 35: “The system of claim 21, wherein at least a portion of
                                    the therapy signal has a pulse width in a pulse width range
 7                                  from 25 microseconds to 166 microseconds.”
 8           As discussed above, BSC’s commercial patients have been programmed using the

 9    Precision with MultiWave in Europe at a frequency of 10 kHz. (Ex. 20, Carbunaru Dep. 567:9-

10    16, 762:10-765:17, 766:3-9, 768:1-773:14; Ex. 34 at BSC-NVRO_00369789; Ex. 35 at BSC-

11    NVRO_00369791.)

12                                  . (Ex. 20, Carbunaru Dep. 768:1-10; Pless Decl. ¶¶ 48-50.)

13                   3.     The Precision with MultiWave Infringes Claim 22 of the ’842 Patent
14           The Precision with MultiWave meets every element of claim 22, which reads:

15                   Claim 22: A spinal cord modulation system for reducing or
                     eliminating pain in a patient, the system comprising: a signal
16                   generator configured to generate a therapy signal in accordance
                     with one or more therapy signal parameters; an implantable signal
17                   delivery device configured to electrically couple to the signal
                     generator and configured to be implanted in the patient’s epidural
18                   space to deliver the therapy signal to the patient’s spinal cord; and a
                     programmer configured to be in wireless communication with the
19                   signal generator and configured to modify at least one of the one or
                     more therapy signal parameters in the signal generator, wherein the
20                   one or more therapy signal parameters include, for at least a portion
                     of the therapy signal, (a) a frequency of 10 kHz, (b) an amplitude
21                   up to 6 mA, and (c) pulses with a pulse width between 30
                     microseconds and 35 microseconds.
22
                            a.      Claim 22, Preamble: “A spinal cord modulation system,
23                                  comprising:”
24           BSC admits that the Precision with MultiWave is “a spinal-cord-modulation system.”

25    (Ex. 31, Mihran Dep. 94:9-13; see also Pless Decl. ¶¶ 51-52.)

26                          b.      Claim 22, Element [a]: “a signal generator configured to
                                    generate a therapy signal in accordance with one or more
27                                  therapy signal parameters”
28           The Precision with MultiWave system includes an IPG which is a “signal generator.”

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 1    (Ex. 24, Carbunaru Dep. 11:7-17.)

 2                                                                                                             .

 3    (Ex. 24, Carbunaru Dep. 25:15-26:22; Ex. 27 [ECF 373-9] at 43:12-44:9, 491:8-492:17; Ex. 37

 4    [ECF 379-18] at 294:24-296:12; Pless Decl. ¶¶ 53-54.)

 5                           c.      Claim 22, Element [b]: “an implantable signal delivery device
                                     configured to electrically couple to the signal generator and
 6                                   configured to be implanted in the patient’s epidural space to
                                     deliver the therapy signal to the patient’s spinal cord”
 7
             The Precision with MultiWave uses “implantable” leads. (Ex. 31, Mihran Dep. 95:16-24.)
 8
      The leads “deliver[] electrical stimulation to the nerve structures . . . of the spinal cord.” (Ex. 30
 9
      at 2; Ex. 24, Carbunaru Dep. 168:13-169:2.) BSC’s Clinician Manual provides specific
10
      instructions on implanting and electrically coupling the leads to the signal generator. (Ex. 30 at
11
      30-31.) Physicians following these instructions implant the leads in a patient’s epidural space and
12
      connect the leads to the IPG. (Ex. 24, Carbunaru Dep. 11:1-6, 168:13-169:2; Ex. 30 at 2, 14-17,
13
      23-26, 30-31; Ex. 27, Cassidy Dep. 478:22-479:12; Pless Decl. ¶¶ 55-61.)
14
                             d.      Claim 22, Element [c]: “a programmer configured to be in
15                                   wireless communication with the signal generator and
                                     configured to modify at least one of the one or more therapy
16                                   signal parameters in the signal generator”
17           The Precision with MultiWave system includes a Clinician Programmer that

18    communicates wirelessly with the IPG (Ex. 20, Carbunaru Dep. 589:3-25; Ex. 38 at BSC-

19    NVRO_00006801) and allows various signal parameters to be selected and modified. (Ex. 24,

20    Carbunaru Dep. 25:15-26:22; Ex. 27, Cassidy Dep. 43:12-44:9, 491:8-492:17; Ex. 37, Lipson

21    Dep. 294:24-296:12; Pless Decl. ¶¶ 62-66.)

22

23                                                             (Ex. 24, Carbunaru Dep. 25:15-26:22; Ex.

24    27, Cassidy Dep. 43:12-44:9, 491:8-492:17; Ex. 37, Lipson Dep. 294:24-296:12.)

25                           e.      Claim 22, Element [d]: “wherein the one or more therapy signal
                                     parameters include, for at least a portion of the therapy signal,
26                                   (a) a frequency of 10 kHz, (b) an amplitude up to 6 mA, and (c)
                                     pulses with a pulse width between 30 microseconds and 35
27                                   microseconds.”
28           The Precision with MultiWave system has a “default” frequency of “10,000 Hz,” a

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 1    programmable frequency range of “2 kHz – 10 kHz,” amplitude range of 0 to 9 mA, pulse width

 2    range of 20 to 240 microseconds, and a default pulse width of 30 microseconds. (Ex. 30 at 51;

 3    Ex. 24, Carbunaru Dep. 168:13-169:2.)

 4                                                    (Ex. 27, Cassidy Dep. 43:12-44:9, 491:8-492:17;

 5    Ex. 37, Lipson Dep. 294:24-296:12.) BSC’s commercial patients “have been programmed []

 6    using the Precision with MultiWave in Europe at frequencies higher than 1.5 kilohertz” (Ex. 20,

 7    Carbunaru Dep. 567:9-16), including at a frequency of 10 kHz, amplitudes between 2.46 and 4.9

 8    mA, and pulse widths at 20, 30, and 40 microseconds. (Ex. 34 at BSC-NVRO_00369789; Ex. 35

 9    at BSC-NVRO_00369791; Ex. 20, Carbunaru Dep. 762:10-765:10, 765:12-17, 766:3-9, 768:1-

10    770:22, 770:23-773:14; Pless Decl. ¶¶ 67-74.)

11                  4.      The Precision with MultiWave Infringes Claim 55 of the ’125 Patent
12           The Precision with MultiWave meets every element of claim 55, which reads:

13                  Claim 55: A spinal cord modulation system for reducing or
                    eliminating pain in a patient, the system comprising: means for
14                  generating a non-paresthesia-producing therapy signal, wherein: at
                    least a portion of the therapy signal is at a frequency in a frequency
15                  range from 3 kHz to 20 kHz; the therapy signal includes pulses
                    having a pulse width in a pulse width range from 25 microseconds
16                  to 166 microseconds; and the therapy signal includes a current
                    amplitude in a current amplitude range from 0.5 milliamps to 10
17                  milliamps; and wherein the system further comprises: means for
                    delivering the therapy signal to the patient’s spinal cord region,
18                  wherein the means for delivering the therapy signal is configured to
                    be implanted in the patient’s epidural space.
19
                            a.     Claim 55, Preamble: “A spinal cord modulation system for
20                                 reducing or eliminating pain in a patient, the system
                                   comprising:”
21
             Dr. Mihran confirmed that the Precision with MultiWave is “a spinal-cord-modulation
22
      system for reducing or eliminating pain.” (Ex. 31, Mihran Dep. 94:9-13.) “The Precision Spinal
23
      Cord Stimulator System with Multiwave . . . is indicated as an aid in the management of chronic
24
      intractable pain.” (Ex. 30 at 4; Ex. 24, Carbunaru Dep. 168:13-169:2; Pless Decl. ¶¶ 75-78.)
25
                            b.     Claim 55, Element [a]: “means for generating a non-
26                                 paresthesia-producing therapy signal, wherein: at least a
                                   portion of the therapy signal is at a frequency in a frequency
27                                 range from 3 kHz to 20 kHz”
28           The Federal Circuit construed “means for generating” as a means-plus-function term, with

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 1    a function of “generating” and a structure of “a signal/pulse generator configured to generate” the

 2    claimed signals. (ECF 509 at 14.) As discussed above, the Precision with MultiWave system

 3    includes an IPG or implantable pulse generator, which is a signal/pulse generator. (Ex. 24,

 4    Carbunaru Dep. 11:7-17; Pless Decl. ¶¶ 79-80.) The IPG is configured to generate the claimed

 5    signal: BSC has admitted that commercial patients “have been programmed [] using the Precision

 6    with MultiWave in Europe at frequencies higher than 1.5 kilohertz who had therapeutic results

 7    without paresthesia,” including at a frequency of 10 kHz. (Ex. 20, Carbunaru Dep. 567:9-16,

 8    762:10-765:17, 766:3-9, 768:1-773:14; Ex. 34 at BSC-NVRO_00369789; Ex. 35 at BSC-

 9    NVRO_00369791; Pless Decl. ¶¶ 81-85.)

10                          c.      Claim 55, Element [b]: “the therapy signal includes pulses
                                    having a pulse width in a pulse width range from 25
11                                  microseconds to 166 microseconds”
12           As discussed above, BSC’s commercial patients have been programmed using the

13    Precision with MultiWave in Europe at a frequency of 10 kHz. (Ex. 20, Carbunaru Dep. 567:9-

14    16, 762:10-765:17, 766:3-9, 768:1-773:14; Ex. 34 at BSC-NVRO_00369789; Ex. 35 at BSC-

15    NVRO_00369791.)

16                                   (Ex. 20, Carbunaru Dep. at 768:1-10; Pless Decl. ¶¶ 86-89.)

17                          d.      Claim 55, Element [c]: “the therapy signal includes a current
                                    amplitude in a current amplitude range from 0.5 milliamps to
18                                  10 milliamps”
19           BSC admits that “stimulation frequencies between 2,000 Hz and 10,000 Hz are used with

20    a pulse width of 20-240 μsec and an amplitude of 0-9mA.” (Ex. 26 at 3, BSC’s 2nd Suppl. Resp.

21    to Rog No. 1; Ex. 30 at 51; Ex. 36 at 51; Ex. 24, Carbunaru Dep. 168:13-169:2.) BSC’s

22    commercial patients have been programmed using the Precision with MultiWave in Europe at a

23    frequency of 10 kHz and amplitudes between 2.46 and 4.9 mA. (Ex. 34 at BSC-

24    NVRO_00369789; Ex. 35 at BSC-NVRO_00369791; Ex. 20, Carbunaru Dep. 762:10-765:10,

25    765:12-17, 766:3-9, 768:1-770:22, 770:23-773:14; Pless Decl. ¶¶ 90-94.)

26

27

28

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 1                           e.     Claim 55, Element [d]: “wherein the system further comprises:
                                    means for delivering the therapy signal to the patient’s spinal
 2                                  cord region, wherein the means for delivering the therapy
                                    signal is configured to be implanted in the patient’s epidural
 3                                  space”

 4           In the prior claim construction briefing, the parties agreed that “means for delivering” is a

 5    means-plus-function term with a function of “delivering” and a corresponding structure of “a

 6    lead.” (ECF 357-4 at 20 n.10.) The Precision with MultiWave uses “implantable” leads. (Ex.

 7    31, Mihran Dep. 95:16-24.) The leads “deliver[] electrical stimulation to the nerve structures . . .

 8    of the spinal cord.” (Ex. 30 at 2; Ex. 24, Carbunaru Dep. 168:13-169:2.) Physicians following

 9    the instructions in BSC’s Clinician Manual implant the leads in a patient’s epidural space and

10    connect the leads to the IPG. (Ex. 30 at 2, 14-17, 23-26, 30-31; Ex. 24, Carbunaru Dep. 11:7-17,

11    168:13-169:2; Ex. 27, Cassidy Dep. at 478:22-479:12; Pless Decl. ¶¶ 55-61, 95-96.)

12           C.       BSC Actively Induced the Infringing Combination of the Precision with
                      MultiWave
13
             A finding of infringement under § 271(f)(1) requires intent to cause the combination of a
14
      patented invention outside the United States. See Liquid Dynamics, 449 F.3d at 1222-23. Intent
15
      may be proven through circumstantial evidence, including product manuals. Id. at 1223.
16
             BSC’s own documents and testimony show that BSC had the requisite intent. BSC knew
17
      of the ’533 patent in October 2014, and it became aware of the ’842 and ’125 patents in
18
      November 2016. (Ex. 39, Supp. Rog. Resp. 11 at 4-5; Pless Decl. ¶¶ 97-98.) BSC makes the
19
      components of the Precision with MultiWave system in the United States and supplies these
20
      components to Europe, and, as shown above, these components have been combined to generate
21
      signals that fall within the claimed parameter ranges. BSC’s intent that the components be
22
      combined in such an infringing manner cannot be genuinely disputed because,
23

24
                  (Ex. 27, Cassidy Dep. at 489:16-21, 491:8-492:17, 729:11-19.)
25

26
                                                         (Id.) BSC’s intent that the components be
27
      combined in such a manner is further shown in BSC’s documents. BSC provides practitioners
28

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 1    and that changes to the software and firmware would be required to render the system

 2    programmable to generate frequencies greater than 1,200 Hz. (Id.) Ms. Adair also stated that

 3    “BSC’s commercially distributed SCS systems have been providing stimulation at a frequency

 4    range up to 1,200 Hz since 2004.” (Ex. 42, Adair Decl. ¶ 4.)

 5           Dr. Mihran offered an invalidity opinion in his opening expert report regarding alleged

 6    “frequency harmonics” in the Precision system that is not based on the adopted construction of

 7    “frequency.” His report describes a complicated series of experiments using an assembled

 8    Precision system and abstract mathematical signal decomposition analyses using the Fourier

 9    series purporting to show that the “spectral energy” of the “frequency harmonics” exceeds

10    1,500 Hz when the system is operated at frequencies that do not exceed the Precision system’s

11    upper limit of 1,200 Hz. (Ex. 43, Mihran Rpt. ¶¶ 402-476.) Nevro has moved to strike this late

12    disclosed theory—even though BSC attempts to tie the new theory to its proposed claim

13    construction, it never sought leave to amend its invalidity contentions. But even if the Court does

14    not strike it, Dr. Mihran’s theory depends on BSC’s rejected construction of “frequency” as

15    “frequency components in a frequency range.” (Id. ¶¶ 1411-1442.) Dr. Mihran’s theory fails

16    under the Court’s construction of “frequency” as “fundamental frequency” or “pulse rate.” Under

17    that construction, the Court should grant summary judgment of no invalidity because it is

18    undisputed that the Precision system’s stimulation pulse rates had an upper limit of 1,200 Hz and

19    do not meet the frequency limitations of the asserted claims.

20                   2.     The Precision SCS system was not programmed to generate the
                            claimed stimulation frequencies
21
             In their rebuttal non-infringement reports, Dr. Mihran and Dr. Lanovaz opined for the first
22
      time that
23

24

25
                                                                        (Ex. 33, Mihran Rbtl. ¶¶ 133-
26
      145; Ex. 44, Lanovaz Rbtl. ¶¶ 44, 57-58.) They suggest that this capability renders certain
27
      asserted claims invalid. (Ex. 33, Mihran Rbtl. ¶¶ 112-115; Ex. 44, Lanovaz Rbtl. ¶¶ 44, 57-58.)
28

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 1    Nevro has moved to strike this theory as untimely and improperly disclosed. But this theory fails

 2    for the additional reason that under the Federal Circuit’s construction of “configured to,” the

 3    Precision prior art system was not “configured to” generate such signals as the claims require.

 4            The Federal Circuit construed “configured to” as “programmed to.” As discussed above,

 5    BSC’s own witnesses have testified that the Precision prior art system was not capable of being

 6    programmed to generate stimulation frequencies greater than 1,200 Hz. (Ex. 41, Carbunaru Decl.

 7    ¶ 11; Ex. 42, Adair Decl. ¶ 4.) Dr. Carbunaru described the design process that BSC later

 8    undertook to transform the Precision system into the high frequency Precision with MultiWave as

 9    including software and firmware changes that required about a year of R&D development and as

10    many as 50 people. (Ex. 24, Carbunaru Dep. 136:2-139:21.) Drs. Mihran and Lanovaz’s

11                        theory cannot change the admissions of BSC’s witnesses that the Precision

12    system was not programmed to generate high frequency stimulation. Indeed, BSC’s own

13    admission that “this engineering interface was not used to program a Precision system above 1.2

14    kHz for use in a patient” is fatal to the                    theory under the Federal Circuit’s

15    construction. (See ECF No. 358 at 45.) BSC cannot show that Precision SCS was known or

16    shown to work for the intended purpose of high-frequency, paresthesia-free therapy. Barry v.

17    Medtronic, Inc., 914 F.3d 1310, 1322 (Fed. Cir. 2019).

18            There is also no evidence that Drs. Mihran and Lanovaz’s

19    modification—                      was known or publicly used such that it even qualifies as prior

20    art. BSC cannot show that the requirements of any section of the statute are satisfied by such a

21    secret and hypothetical revision to the system. 35 U.S.C. § 102; see BASF Corp. v. SNF Holding

22    Co., 955 F.3d 958, 964-66 (Fed. Cir. 2020) (concluding that “known or used” prong under

23    § 102(a) must be “accessible to the public” and does not apply when knowledge or use is

24    protected by confidentiality and that public use under § 102(b) must be “not purposely hidden”).

25    BSC does not even assert that any member of the public knew of Drs. Mihran and Lanovaz’s

26                              before the critical date, admits that no one ever used it in a patient, and

27    hides its existence from the public. (See ECF No. 358 at 45; see also Ex. 45, Kothandaraman

28    Dep. 32:4-33:12.) Indeed, BSC continues to conceal the                                even today and

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 1    has repeatedly moved to seal any filing that refers to it, admitting that it is not public information

 2    and arguing that its disclosure would be a threat to “public safety.” (ECF No. 357-1 ¶ 14; ECF

 3    No. 357-2 ¶ 4); see Barry, 914 F.3d at 1327 (finding “invention was not accessible to the public

 4    before the critical date” because of confidentiality); Dey, L.P. v. Sunovion Pharm., Inc., 715 F.3d

 5    1351, 1359 (Fed. Cir. 2013) (“[I]f members of the public are not informed of, and cannot readily

 6    discern, the claimed features of the invention in the allegedly invalidating prior art, the public has

 7    not been put in possession of those features.”).

 8              As BSC has set forth no evidence that Drs. Mihran and Lanovaz’s

 9    was accessible to the public or known or used for the intended purpose of high frequency

10    paresthesia-free therapy, the Court should grant summary judgment of no invalidity based on this

11    theory.

12              B.     The Fang Reference Is Not Section 102(e) Prior Art
13              BSC alleges that the Fang reference, a patent application owned by Nevro that is related to

14    the asserted ’472 Patent, anticipates the asserted claims of the other six Patents-in-Suit (the “’533-

15    family patents”). (See Ex. 46 at 22, 2nd Am. Invalidity Contentions.) The “common inventive

16    entity” rule defeats BSC’s theory. 35 U.S.C. § 102(e) (pre-AIA) does not allow challengers to

17    use an inventor’s own invention against him. Fang cannot be prior art because the disclosures

18    BSC relies on in Fang were invented by the same inventors as the inventors of the relevant

19    subject matter in the ’533-family patents. BSC asserts that Fang’s disclosure of a high-frequency,

20    paresthesia-free pain treatment anticipates the high frequency, paresthesia-free claim limitations

21    in the asserted claims of the ’533-family Patents. The undisputed evidence establishes that named

22    inventors Konstantinos Alataris and Andre Walker are the sole inventors of that subject matter in

23    Fang and of that same subject matter in the ’533-family Patents. In the face of that evidence,

24    BSC cannot show a material dispute of fact sufficient to meet its burden of proof of showing

25    invalidity by clear and convincing evidence.

26                     1.      Section 102(e) Forbids Using an Inventor’s Own Work Against Him
27              Under 35 U.S.C. § 102(e), “[a] person shall be entitled to a patent unless- . . . (e) the

28    invention was described in – (1) an application for patent, published under section 122(b), by

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 1    another filed in the United States before the invention by the applicant for patent . . . .” 35

 2    U.S.C. § 102(e) (emphasis added). Because Section 102(e) requires art to be “by another,” it is

 3    unavailable as a defense where the subject matter in the reference asserted as prior art—here

 4    Fang—and the claim limitations at issue in the later issued patents—here the ’533-family

 5    Patents—were invented by a common inventive entity.

 6           This rule applies even if the named inventors on Fang and the ’533-family patents are not

 7    the same so long as the inventors of the subject matter at issue are the same. Riverwood Int’l

 8    Corp. v. R.A. Jones & Co., 324 F.3d 1346, 1356 (Fed. Cir. 2003). The Court must first determine

 9    what part of Fang is being asserted as prior art before deciding whether that disclosure was

10    invented by the same inventors of the claim limitations at issue in the ’533-family patents. See id.

11    at 1356-1357 (“We hold that by not deciding who invented the portion of the subject matter

12    disclosed in the [reference] patent that served as the basis for [the alleged infringer’s] obviousness

13    contentions, the district court erred.”); see also Duncan Parking Techs., Inc. v. IPS Grp., Inc., 914

14    F.3d 1347, 1357 (Fed. Cir. 2019) (holding that the inquiry under Section 102(e) requires one to

15    “(1) determine what portions of the reference patent were relied on as prior art to anticipate the

16    claim limitations at issue, (2) evaluate the degree to which those portions were conceived ‘by

17    another,’ and (3) decide whether that other person’s contribution is significant enough, when

18    measured against the full anticipating disclosure”); EmeraChem Holdings, LLC v. Volkswagen

19    Grp. of Am. Inc., 859 F.3d 1341, 1345 (Fed. Cir. 2017) (holding that the relevant question is not

20    whether the references list different inventors, but who invented the portions of reference relied

21    on as prior art and the subject matter of the claims in question).

22           A defendant raising an invalidity defense must prove that defense by clear and convincing

23    evidence. See Microsoft Corp. v. I4I Ltd., 564 U.S. 91, 102 (2011). Although a patentee must

24    produce rebuttal evidence once a challenger has presented a prima facie case of invalidity, the

25    burden of persuasion remains with the challenger. See Novo Nordisk A/S v. Caraco Pharm.

26    Labs., Ltd., 719 F.3d 1346, 1353 (Fed. Cir. 2013). Moreover, as Fang was considered and

27    rejected as prior art during the prosecution of the ’533 patent (see Ex. 47 at

28    NEVRO_BSXCA1598-1599), it is even more difficult for BSC to meet its “clear and convincing”

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 1    burden of proof. See Sciele Pharm. Inc. v. Lupin Ltd., 684 F.3d 1253, 1260 (Fed. Cir. 2012)

 2    (“[T]he fact that references were previously before the PTO goes to the weight the court or jury

 3    might assign to the proffered evidence.”) (citation omitted).

 4                   2.      BSC Relies on Fang’s Disclosure of High-Frequency, Paresthesia-Free
 5            Although most of Fang describes a combination therapy involving both high-frequency

 6    and low-frequency signals (see, e.g., Ex. 48, Fang at Abstract), Fang also contains a brief

 7    disclosure of a high-frequency, paresthesia-free therapy signal that can be used alone. Paragraph

 8    54 of Fang states that “[t]his [high-frequency] blocking signal can be applied to the dorsal column

 9    DC in place of [a low frequency] stimulation signal to replace the pain relief provided by the

10    paresthesia.” (Id. ¶ 54.) Claim 62 claims a high frequency signal without producing paresthesia.

11    BSC contends this disclosure anticipates the asserted claims of the ’533-family patents. (See,

12    e.g., Ex. 43, Mihran Rpt. ¶ 2514, citing paragraph 54 and claim 62 of Fang, as well as paragraphs

13    24-25, 42, 50, and 54-55.)

14            Nevro has put forth undisputed evidence that Dr. Alataris and Mr. Walker are the sole

15    inventors of Nevro’s high frequency, paresthesia-free therapy signal in Fang and the ’533-family

16    patents. In addition, Nevro has corroborated the testimony of Dr. Alataris and Mr. Walker with

17    documents and testimony from the other named inventors and has more than met its burden of

18    production. See EmeraChem, 859 F.3d, at 1345-46 (explaining that corroboration may be

19    required in certain cases). BSC has not been able to challenge Nevro’s evidence and thus cannot

20    “prov[e] to the decisionmaker by a clear and convincing standard that, after all of the evidence

21    has been placed on the table for consideration, the claim is invalid.” Novo Nordisk, 719 F.3d at

22    1353.

23            BSC deposed all five named inventors on Fang. The testimony of each was consistent:

24    Dr. Alataris and Mr. Walker were the sole inventors of the high frequency, paresthesia-free

25    therapy signal in Fang and the ’533-family patents. Dr. Alataris and Mr. Walker both testified

26    that they alone invented Nevro’s high frequency, paresthesia-free therapy signal based on animal

27    studies conducted at Stanford University and UC Davis. (See, e.g., Ex. 49, Alataris Dep. 183:12-

28    19 (“[T]he Stanford rat data and . . . continuation to the Davis larger animals . . . started giving

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 1    me -- me, at least, a lot more confidence that we can do it to have a therapeutic effect, and without

 2    paresthesia . . . .”), 240:20-22 (“I think Andre [Walker] and myself were the ones that contributed

 3    to the paresthesia-free pain relief.”); Ex. 50, Walker Dep. 173:24-174:22 (“Who contributed to

 4    what is described in Paragraph 54 of [Fang]? . . . [Walker]: I think this describes the studies

 5    basically that we did at Stanford and Davis. . . . So this describes what Konstantinos [Alataris]

 6    and I did at Davis . . . That particular paragraph I think was the sole contribution of Konstantinos

 7    and mine.”), 177:12-14 (“Myself and Konstantinos [Alataris] I would say is Paragraph 54, which

 8    describes the high frequency alone.”); see also Ex. 49, Alataris Dep. 244:20-24, 246:19-247:7,

 9    249:5-12; Ex. 50, Walker Dep. 168:4-169:25.)

10           The other named inventors on Fang—Zi-Ping Fang, Anthony Caparso, and Brian

11    Erickson—confirmed that they did not invent using a high frequency signal alone to provide

12    paresthesia-free therapy. (See, e.g., Ex. 51, Fang Dep. 85:17-21 (“Q. [A]re you the person who

13    generated that idea of using high frequency blocking signal alone? . . . [Fang]: No.”); Ex. 52,

14    Caparso Dep. 85:8-14 (“Q. And how about the high frequency fields, was that something on a

15    stand-alone basis, before the idea of combining them was generated, was that something you

16    came up with individually? . . . [Caparso]: No.”); Ex. 53, Erickson Dep. 257:9-14 (“Q. [W]ere

17    you the person who conceived of the idea of high-frequency therapy applied to the dorsal column

18    alone? . . . [Erickson]: I was not.”); see also id. at 257:16-258:2 (“Q. [W]ere you a contributor to

19    this aspect of the patent . . . high frequency replacing the pain relief provided by paresthesia? . . .

20    A. I was not.”).) Instead, the other named inventors testified that they contributed to the

21    combination therapy in Fang. See Ex. 52, Caparso Dep. 83:23-84:21; Ex. 51, Fang Dep. 26:2-13,

22    85:13-16; Ex. 53, Erickson Dep. 254:9-21.)

23           The other named inventors on the ’533-family patents—Sangsoo Wesley Park, Jon Parker,

24    Yougandh Chitre, and James Thacker—also testified that they did not invent a high-frequency,

25    paresthesia-free therapy signal and instead contributed to other aspects of the ’533-family patents.

26    (See, e.g., Ex. 54, Chitre Dep. at 97:6-23 (contribution was to “mechanical aspects” such as “the

27    leads and tools”); Ex. 55, Park Dep. 67:20-68:11 (contribution was to lead placement and

28    amplitude); Ex. 56, Parker Dep. 94:4-95:8 (testifying he did not contribute to any portion of ’533

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 1    claim 1); Ex. 57, Thacker Dep. 32:8-33:25 (contribution was to selection of pulse widths.)

 2    Contemporaneous documents further corroborate Dr. Alataris’s and Mr. Walker’s testimony that

 3    they invented Nevro’s high frequency, paresthesia-free therapy signal based on animal studies

 4    conducted at Stanford University and UC Davis. (See Alataris Decl., Ex. 4 at

 5    NEVRO_BSXCA45438 (June 2007 presentation indicating that testing at Stanford and UC Davis

 6    “established” Nevro’s therapy); id. Ex. 3 at NEVRO_BSXCA131357 (Sept. 2007 email

 7    indicating Nevro’s therapy was different from “traditional SCS which produces paresthesia”).)

 8           To defeat Nevro’s showing of a common inventive entity for this subject matter, BSC

 9    claims that Dr. Alataris did not conceive of any of the inventions in the Patents-in-Suit because a

10    physician from the Mayo Clinic conceived of a high frequency, paresthesia-free therapy signal,

11    and that Mr. Walker also did not conceive of this idea because “those aspects of the claimed

12    invention had already been conceived prior to Mr. Walker joining Nevro.” (Ex. 58 at 7, BSC’s

13    Suppl. Resp. to Rog No. 10.) The evidence indisputably refutes BSC’s allegation. Dr. Alataris

14    and Mr. Erickson testified that the animal studies performed at the Mayo Clinic before

15    Mr. Walker joined Nevro were failures. (See, e.g., Ex. 49, Alataris Dep. 82:5-10, 94:11-16,

16    96:19-97:6; Ex. 53, Erickson Dep. 118:22-119:19, 143:2-15, 148:5-14, 149:12-17, 166:7-12,

17    233:6-238:14, 238:24-241:20, 241:21-243:3, 243:4-244:20, 251:10-252:11, 252:13-253:16.) This

18    is corroborated by documents showing that the Mayo studies were not successful. (See, e.g.,

19    Alataris Decl., Ex. 1 at NEVRO_BSXCA40739 (“Our current practice is likely to provide

20    undesirable motor block.”); id. Ex. 2 at NEVRO_BSXCA40734 (“We have not observed nerve

21    blocking in the absence of stimulation.”).)

22           Mr. Erickson further testified that, while he was working with the Mayo Clinic and at

23    Nevro, he did not see anything indicating that the idea of high frequency, paresthesia-free therapy

24    came from the Mayo Clinic instead of Nevro. (Ex. 53, Erickson Dep. 258:4-20.) Mr. Walker

25    testified that the work performed at the Mayo Clinic “never panned out and it never went

26    anywhere,” and that Nevro “started everything from scratch” at Stanford and UC Davis and did

27    not use data from the Mayo studies. (Ex. 50, Walker Dep. 73:11-74:6.) Mr. Erickson also

28    testified that the Mayo Clinic studies merely involved applying heat to the foot of the animal and

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 1    measuring the time it would take for the animal to raise its foot in response, and that in contrast,

 2    the animal studies performed by Nevro at Stanford were different and involved “measuring and

 3    recording . . . individual axons instead of looking at physiological response.” (Ex. 53, Erickson

 4    Dep. 233:6-238:14, 245:4-20.) BSC has adduced no evidence, much less clear and convincing

 5    evidence, of such alleged inventorship by anyone at the Mayo Clinic. Further, to prevail BSC

 6    would have to show communication of that invention to the named inventors that would enable

 7    one of ordinary skill in the art to make the patented invention. BSC has no evidence of that

 8    either. See Cumberland Pharm. Inc. v. Mylan Inst. LLC, 846 F.3d 1213, 1218 (Fed. Cir. 2017)

 9    (derivation requires a prior conception of that subject matter and communication of the

10    conception to the named inventor); Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332, 1344

11    (Fed. Cir. 2003) (the communication “must be sufficient to enable one of ordinary skill to make

12    the patented invention”).

13                   3.      The Later Addition of Dr. Alataris and Mr. Walker to Fang Does Not
                             Undermine the Sworn Testimony of the Nine Nevro Inventors
14
             BSC attempts to undermine this consistent record by arguing that Dr. Alataris and Mr.
15
      Walker were not on the original Fang application, and that Nevro’s request to correct inventorship
16
      was improper because it occurred years after the application was filed and does not indicate the
17
      relative contributions of the additional inventors. (See Ex. 46, 2nd Am. Invalidity Contentions,
18
      Ex. A10.) This theory is belied by the record. The 2008 Fang application, and the 2007
19
      provisional application to which it claims priority, listed only Fang, Caparso, and Erickson as
20
      inventors, but neither application originally recited claims directed to a high frequency,
21
      paresthesia-free therapy signal (see Ex. 59 at NEVRO_BSXCA381459, 381493-381499; Ex. 60
22
      at NEVRO_BSXCA381424-381434), and inventorship is determined on a claim-by-claim basis.
23
      See Vapor Point LLC v. Moorhead, 832 F.3d 1343, 1349 (Fed. Cir. 2016). These claims were
24
      first added to the Fang application in 2009. (See Ex. 61 at NEVRO_BSXCA427853-54.) In
25
      2012, over four years before this lawsuit was filed, Nevro undertook a review of its IP, discovered
26
      the oversight, and filed a request to correct inventorship. (See Ex. 49, Alataris Dep. 226:6-
27
      231:20; Ex. 62 at BSC-NVRO_00132448-132473; Ex. 50, Walker Dep. at 115:14-117:17; Ex. 61
28

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 1    at NEVRO_BSXCA428987-429023.) The other inventors also executed declarations

 2    accompanying Nevro’s request. (See Ex. 62 at BSC-NVRO_00132462-132473; Ex. 50, Walker

 3    Dep. 115:14-117:17; Ex. 61 at NEVRO_BSXCA428987-429023.) BSC has identified no

 4    evidence that the request was improper.

 5                   4.      None of the Other Portions of Fang Relied Upon by BSC for a High
                             Frequency, Paresthesia-free Signal Is Prior Art.
 6
             In addition to paragraph 54 and claim 62 of Fang, BSC contends that paragraphs 24-25,
 7
      42, 50, and 55 of Fang also constitute a disclosure of a high frequency, paresthesia-free therapy
 8
      signal. (See, e.g., Ex. 43, Mihran Rpt. ¶ 2514.) Although these portions of Fang do not refer to a
 9
      signal that is paresthesia-free, to the extent BSC may argue that these other portions disclose such
10
      a signal, they too would not be prior art under Section 102(e) for the same reason: the undisputed
11
      evidence shows that Dr. Alataris and Mr. Walker are the inventors of a high-frequency,
12
      paresthesia-free therapy. As BSC has set forth no evidence to the contrary, there is no genuine
13
      issue of material fact that Fang is not prior art under Section 102(e).
14
      V.     BSC’S INEQUITABLE CONDUCT AFFIRMATIVE DEFENSE FAILS
15
             Courts have long recognized that the inequitable conduct doctrine “has plagued not only
16
      the courts but also the entire patent system.” Therasense, Inc. v. Becton, Dickinson & Co., 649
17
      F.3d 1276, 1289 (Fed. Cir. 2011) (en banc). As a result, the Federal Circuit tightened the
18
      standard for inequitable conduct and ruled that an accused infringer must show that (1) the “single
19
      most reasonable inference” is that “the patentee acted with the specific intent to deceive the PTO”
20
      and (2) the prior art was material such that the claims would not have issued “but-for” the failure
21
      to disclose the prior art to the PTO. Id. at 1290-1291. The accused infringer must separately
22
      establish but-for materiality and specific intent by clear and convincing evidence; while assessing
23
      but-for materiality the court must look to the preponderance of the evidence standard used by the
24
      PTO during examination. Am. Calcar, Inc. v. Am. Honda Motor Co., 768 F.3d 1185, 1189 (Fed.
25
      Cir. 2014).4 The broadest reasonable construction of the relevant claim terms applies for
26
      assessing materiality. Id.
27
             4
28              As noted in Network Signatures, Inc. v. State Farm Mutual Automobile Insurance Co.,
      “[t]here is some dispute in our post-Therasense case law over the correct standard of materiality,”
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 1           If BSC’s affirmative defense proceeds to trial—inequitable conduct is an issue for the

 2    Court—Nevro will show that BSC cannot prove the requisite intent to deceive. But the Court

 3    should dispose of BSC’s defense now because BSC cannot establish but-for materiality as a

 4    matter of law for two primary reasons. First, BSC has no evidence that the Yearwood References

 5    are but-for material and has waived its right even to argue that the references are invalidating

 6    prior art. Second, BSC cannot backfill its evidentiary failings with attorney argument.

 7           A.      BSC Cannot Establish That the Yearwood References Are But-For Material
 8           The Yearwood References consist of (1) the Yearwood Poster, which was presented by

 9    Dr. Thomas Yearwood and Dr. Allison Foster at the 2006 Congress of Neurological Surgeons

10    (Ex. 63) and (2) the Yearwood Case Report, a two page handout reporting the same study. (Ex.

11    64.)5 The Yearwood References describe a trial of just “three subjects with failed back surgery

12    syndrome.” (Id. at 1.) The Yearwood References do not disclose high frequency stimulation of

13    1,500 Hz or above, which each of Nevro’s asserted claims require. (See Ex. 31, Mihran Dep.

14    243:6-9.) Yearwood tested three programs: “subthreshold INRS, subthreshold DCS, and

15    suprathreshold DCS.” (Exs. 63-64.) Subthreshold can be understood to refer to paresthesia-free

16    therapy, while suprathreshold can be understood to refer to paresthesia-based therapy. (Pless

17    Decl ¶ 124.) Yearwood reported that “[a]fter testing each program for two days, all three subjects

18    chose suprathreshold [paresthesia-based] DCS for the stimulation programs for their permanent

19    implant.” (Ex. 64 at BSC-NVRO_0006056.) Yearwood further reported that “[s]uprathreshold

20    [paresthesia-based] DCS was reported to provide the highest percentage of pain relief, and was

21    preferred by all three subjects.” (Id.)

22
      with some Federal Circuit panels adopting a clear and convincing standard and some adopting a
23    preponderance standard. 731 F.3d 1239, 1244 n.1 (Fed. Cir. 2013) (Clevenger, J., dissenting).
      Nevro believes this authority can be reconciled: the accused infringer bears the burden of proving
24    to the district court by clear and convincing evidence that the PTO, applying its preponderance of
      the evidence standard, would have found the reference invalidating. Nevro is entitled to
25    judgment under either standard, particularly given BSC’s failure to present any technical analysis
      under the Therasense framework.
26           5
               BSC’s affirmative defense identifies only these two references as the basis for the
27    alleged inequitable conduct. (ECF No. 165 at 19-21); see Exergen Corp. v. Wal-Mart Stores,
      Inc., 575 F.3d 1312, 1327 (Fed. Cir. 2009) (inequitable conduct must be pleaded with specificity
28    satisfying Fed. R. Civ. P. 9(b)).

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 1           BSC has no evidence that these references are but-for material. Its invalidity expert

 2    performed no analysis of whether the Yearwood References are material or are non-cumulative of

 3    art already before the PTO. BSC did not even attempt to chart the Yearwood References as prior

 4    art references, and chose to waive any invalidity arguments by excluding the Yearwood

 5    References from its election of prior art grounds. Moreover, the Yearwood References actually

 6    teach away from Nevro’s inventions, as they report that the paresthesia-free delivery and pulse

 7    widths required by Nevro’s claims were less effective than standard therapy.

 8                   1.      BSC’s Expert Admits He Has No “But-For” Materiality Analysis and,
                             Instead, Applied a Standard Rejected by Therasense
 9
             Dr. Mihran, the only BSC expert who provides any opinions on the Yearwood References,
10
      admits that he considered only whether the Yearwood References would have been “important”
11
      in understanding subthreshold stimulation. (Ex. 43, Mihran Rpt. ¶¶ 38, 167-173; Ex. 31, Mihran
12
      Dep. 239:8-16.) But in Therasense, the Federal Circuit expressly abrogated the importance to a
13
      reasonable examiner standard as a “previous[]” and “broad view of materiality.” Therasense, 649
14
      F.3d at 1288 (citation omitted). The court ruled that it “now tightens” the standard for materiality
15
      to require proof that “the PTO would not have allowed the claim if it had been aware of the
16
      undisclosed [reference].” Id. at 1291 (emphasis added).
17
             Dr. Mihran nowhere applies the legally required “but-for” standard for materiality.
18
      (Ex. 31, Mihran Dep. 241:7-13 (admitting but-for materiality test is “not the legal guideline that I
19
      was provided”).) And neither Dr. Mihran nor BSC have proposed a “broadest reasonable
20
      construction” of any relevant claim terms, as required for a materiality analysis. See Am. Calcar,
21
      768 F.3d at 1189. Indeed, according to Dr. Mihran, “I don’t have an inequitable-conduct section
22
      in my report.” (Ex. 31, Mihran Dep. 240:21-241:6.)
23
             Dr. Mihran thus cannot provide any relevant testimony on materiality. Fed. R. Civ. P.
24
      26(a)(2)(B)(i) (expert report must contain “a complete statement of all opinions the witness will
25
      express and the basis and reasons for them”); see also Rembrandt Vision Techs., L.P. v. Johnson
26
      & Johnson Vision Care, Inc., 725 F.3d 1377, 1381 (Fed. Cir. 2013) (affirming JMOL based on
27
      expert’s failure to adequately disclose basis for opinions). BSC’s failure to set forth expert
28

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 1    analysis of but-for materiality dooms its inequitable conduct defense.

 2                   2.      BSC Performed No Analysis of Whether the Yearwood References Are
                             Cumulative of Information Disclosed to the PTO
 3
             “[E]ven where an applicant fails to disclose an otherwise material prior art reference, that
 4
      failure will not support a finding of inequitable conduct if the reference is ‘simply cumulative to
 5
      other references,’ i.e., if the reference teaches no more than what a reasonable examiner would
 6
      consider to be taught by the prior art already before the PTO.” Regents of the U. of California v.
 7
      Eli Lilly & Co., 119 F.3d 1559, 1574-75 (Fed. Cir. 1997) (internal citation omitted).
 8
             BSC “bears the burden of proving that the [Yearwood] [R]eferences are not merely
 9
      cumulative of the prior art that was before the examiner.” Osram Sylvania, Inc. v. Am. Induction
10
      Techs., Inc., 2011 WL 5143630, at *11 (C.D. Cal. Oct. 28, 2011); Dimension One Spas, Inc. v.
11
      Coverplay, Inc., 2007 WL 2815042, at *5 (S.D. Cal. Sept. 25, 2007) (“[l]ack of cumulativeness is
12
      an element of materiality”); see also Nalco Co. v. Turner Designs, Inc., 2014 WL 645365, at *5
13
      (N.D. Cal. Feb. 19, 2014) (dismissing inequitable conduct pleading that failed to explain why the
14
      reference was not cumulative).
15
             There were hundreds of prior art references before the PTO for the relevant patent
16
      prosecutions. (Ex. 6 at 2-7 (listing ’357 patent references); Ex. 4 at 2-4 (listing ’988 patent
17
      references).) BSC’s burden of proving that the Yearwood References are not cumulative to these
18
      prior art references “cannot be shifted” to Nevro. Intermec Techs. Corp. v. Palm Inc., 738 F.
19
      Supp. 2d 522, 561 (D. Del. 2010) (“The burden to show that non-disclosed prior art was
20
      cumulative, however, cannot be shifted to [patentee].”); see also Star Sci., Inc. v. R.J. Reynolds
21
      Tobacco Co., 537 F.3d 1357, 1365 (Fed. Cir. 2008) (“[t]he need to strictly enforce the burden of
22
      proof and elevated standard of proof in the inequitable conduct context is paramount because the
23
      penalty for inequitable conduct is so severe”).
24
             Dr. Mihran performs no analysis of whether the Yearwood References were cumulative to
25
      the hundreds of references before the PTO during the prosecution of the ’357 and ’988 patents.
26
      To the contrary, Dr. Mihran opines that “many additional” prior art references disclosed
27
      paresthesia-free SCS therapy, which, according to him, is central to the importance of the
28

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 1    Yearwood References. (Ex. 43, Mihran Rpt. ¶¶ 173-74.) Some of this prior art was before the

 2    PTO, and the PTO allowed Nevro’s claims after considering that art. (See Pless Decl. ¶¶ 133-

 3    138; Exs. 65-66.) And when presented with the Yearwood References during prosecution of a

 4    later Nevro application for claims relating to paresthesia-free therapy, the examiner dismissed

 5    their materiality, finding in part that “other references (i.e., Kishawi US 2010/0249875, DeRidder

 6    US 2011/0184488) which show low frequency SCS for pain relief without paresthesia have

 7    already been considered.” (Ex. 67, Appl. No. 15/134,285 Nov. 28, 2017 Office Action at 18.)

 8           BSC’s failure to present evidence of non-cumulativeness is fatal to its affirmative defense.

 9    See In re Katz Interactive Call Processing Pat. Litig., 821 F. Supp. 2d 1135, 1160 (C.D. Cal.

10    2011) (in GEICO case, granting summary judgment when defendant presented only “unsupported

11    conclusory statements” as to cumulativeness); In re Katz Interactive Call Processing Pat. Litig.,

12    2009 WL 8635983, at *5 (C.D. Cal. Aug. 14, 2009) (in “Group C” case, granting summary

13    judgment where defendants did not provide evidence of non-cumulativeness, and observing that

14    defendants’ expert did not perform cumulativeness analysis); Oracle Corp. v. DrugLogic, Inc.,

15    807 F. Supp. 2d 885, 899 (N.D. Cal. 2011) (dismissing inequitable conduct claim at pleading

16    stage where defendant had not alleged facts showing non-cumulative nature of prior art).

17                   3.      BSC Presented No Invalidity Analysis for the Yearwood References
                             and Did Not Include Them on its List of Prior Art
18
             BSC cannot cure its failure to perform a but-for materiality and cumulativeness analysis
19
      by attempting to argue that the Yearwood References invalidate any of the relevant Nevro claims.
20
      BSC did not identify either Yearwood Reference as anticipating or rendering obvious any Nevro
21
      claim and prepared no invalidity charts for the Yearwood References.6 (Ex. 68 at 14, 17-19, BSC
22
      Prelim. Invalidity Contentions; Ex. 46 at 15-16, 18-19, 2nd Am. Invalidity Contentions; cf. Patent
23
      L.R. 3-3(a)-(c) (requiring identification and claim charts for art that allegedly anticipates or
24
      renders obvious).) BSC likewise chose not to include the Yearwood References in the narrowed
25

26           6
               BSC did not make such contentions even during the stage of the case in which Nevro
27    asserted infringement of ’357 patent claim 1 and ’988 patent claim 1, which are the focus of
      BSC’s inequitable conduct allegations. (See ECF No. 165 at 20; Ex. 68 at 14, 17-19, BSC
28    Prelim. Invalidity Contentions.)

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 1    list of prior art grounds required by the Court, despite using only 38 of the available 40 prior art

 2    grounds. (Ex. 69, BSC Id. of 40 Prior Art Grounds for Invalidity); ECF No. 88 (requiring BSC to

 3    narrow to 40 prior art grounds).) Unsurprisingly, then, Dr. Mihran performs no anticipation or

 4    obviousness analysis using the Yearwood References and fails to address the deficiencies with

 5    such an argument, such as the fact that the Yearwood References never disclose the amplitude

 6    required by the ’357 patent claims. (Ex. 43, Mihran Rpt. ¶¶ 168-174; Pless Decl. ¶ 127

 7    (unrebutted expert testimony that the Yearwood References do not teach the required amplitude

 8    limitation).) BSC has no evidence that the Yearwood References anticipate or render obvious any

 9    Nevro patent claim and would be barred from making such an argument in light of its failure to

10    disclose under the Patent L.R. and the Court’s Order on narrowing prior art grounds.

11                   4.      The Yearwood References Teach Away from Paresthesia-Free
                             Therapy
12
             “A reference may be said to teach away when a person of ordinary skill, upon reading the
13
      reference, would be discouraged from following the path set out in the reference, or would be led
14
      in a direction divergent from the path that was taken by the applicant.” DePuy Spine, Inc. v.
15
      Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1327 (Fed. Cir. 2009) (internal citation omitted).
16
      Teaching away in a prior art reference counters any contention of obviousness or materiality.
17
      Siemens, AG v. Seagate Tech., 2009 U.S. Dist. LEXIS 132523, at *21-22 (C.D. Cal. Jan. 8, 2009)
18
      (finding undisclosed art non-material in part due to teaching away).
19
             The Yearwood References discourage a person of ordinary skill in the art from using the
20
      invention claimed in Nevro’s patents and instead lead toward using traditional modes of therapy.
21
      All of the Nevro claims at issue require paresthesia-free therapy, but the Yearwood References
22
      teach that every patient rejected paresthesia-free therapy in favor of paresthesia-based therapy and
23
      that every patient received better treatment from the paresthesia-based therapy. (Ex. 63 at 1,
24
      Carbunaru Ex. 138; Ex. 64 at 2, Carbunaru Ex. 137; Pless Decl. ¶¶ 124-125.) The Yearwood
25
      References also teach that the majority of pulse widths chosen for permanent therapy were well
26
      above the ranges required by the relevant claims. (Ex. 63 at 1 (majority of programs at 450 μsec
27
      or above); Ex. 64 at 2; see Ex. 4 at cl. 1 (’988 patent cl. 1 requires pulse widths of 25
28

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 1    microseconds to 166 microseconds); Ex. 6 at cl. 1 (’357 patent cl. 1 requires pulse widths of 10 to

 2    333 microseconds).) These disclosures in the Yearwood References teach away from Nevro’s

 3    inventions and, at a minimum, remove the motivation to combine the references with other art for

 4    purposes of paresthesia-free therapy. See Polaris Indus., Inc. v. Arctic Cat, Inc., 882 F.3d 1056,

 5    1069 (Fed. Cir. 2018) (“even if a reference is not found to teach away, its statements regarding

 6    preferences are relevant to a finding regarding whether a skilled artisan would be motivated to

 7    combine that reference with another reference.”) (internal citation omitted).

 8           B.      BSC Cannot Rely on Attorney Argument to Cover its Failure to Perform the
                     Required Factual, Technical Analysis
 9
             BSC previously contended that it will present the Yearwood References as material
10
      “without the need for an expert” and will ask the fact-finder to conclude “that Yearwood
11
      anticipates claim 1 of the ’357 patent,” despite having no expert testimony to that effect. (ECF
12
      No. 358 at 49, BSC Opp. to Nevro MSJ and MSJ.) As discussed above, BSC has waived any
13
      ability to contend that Yearwood is an invalidating prior art reference. More fundamentally, of
14
      course, attorney argument is not evidence. See Suffolk Techs., LLC v. AOL Inc., 752 F.3d 1358,
15
      1367 (Fed. Cir. 2014) (granting summary judgment when party offered “mere attorney argument”
16
      in opposition to expert testimony); AAT Bioquest, Inc. v. Tex. Fluorescence Labs., Inc., 2015 WL
17
      1738402, at *15 (N.D. Cal. Apr. 13, 2015) (rejecting “unsupported attorney arguments” of
18
      inequitable conduct as a “basic evidentiary failure[]”); Giuliano v. SanDisk Corp., 224 F. Supp.
19
      3d 851, 865-66 (N.D. Cal. 2016) (for analogous Walker Process fraud claim, party could not
20
      establish but-for materiality without supporting expert testimony); see also Biotec Biologische v.
21
      Biocorp, Inc., 249 F.3d 1341, 1353 (Fed. Cir. 2001) (“It is not the trial judge’s burden to search
22
      through lengthy technologic documents for possible evidence”); (Pless Decl. ¶¶ 133-138). BSC
23
      cannot salvage its affirmative defense through attorney argument.
24
      VI.    CONCLUSION
25
             For the foregoing reasons, the Court should grant Nevro’s motion for summary judgment.
26

27

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 1     Dated: October 20, 2020             MORRISON & FOERSTER LLP

 2

 3                                         By:   /s/ Kenneth A. Kuwayti
                                                 Kenneth A. Kuwayti
 4
                                                 Attorneys for Plaintiff
 5                                               NEVRO CORP.
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